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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 WILDEARTH GUARDIANS
 301 N. Guadalupe St.
 Santa Fe, NM 87501,

 WESTERN WATERSHEDS PROJECT
 126 S Main St., Suite B                            Case No. 21-2864
 P.O. Box 1770
 Hailey, ID 83333, and

 ROCKY MOUNTAIN WILD
 1536 Wynkoop St., Suite 900
 Denver, CO 80202,

         Plaintiffs,

    v.

 U.S. FISH AND WILDLIFE SERVICE
 1849 C Street, N.W.
 Washington, DC 20240

 MARTHA WILLIAMS, Acting Director,
 U.S. Fish and Wildlife Service
 1849 C Street, N.W.
 Washington, DC 20240, and

 DEB HAALAND, Secretary,
 U.S. Department of the Interior
 1849 C Street, N.W.
 Washington, DC 20240,

      Defendants.
_______________________________________

              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

                                        INTRODUCTION

         1.      The black-footed ferret (Mustela nigripes) is perhaps the rarest, most imperiled

mammal in North America. A “Lazarus species,” it was widely believed to be extinct until 1981,

when a ranch dog discovered the last remnant population near Meeteetse, Wyoming. This
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population too would flicker out, but not before biologists trapped the final few animals to use

for captive breeding. Ever since, the fate of the species has depended on the successful

reintroduction of their captive-bred descendants.

       2.      In Wyoming, however, the U.S. Fish and Wildlife Service (the “Service”), the

federal agency responsible for the ferret’s recovery under the Endangered Species Act (“ESA”),

abdicated its duty to reintroduce and recover the species to the State and its agencies under the

guise of providing maximum regulatory flexibility to private landowners. Instead of relying on

the best available science, as the ESA requires, the Service acceded to the demands of the State:

designating all prospective ferret reintroductions in Wyoming “nonessential” to the species’

survival and recovery—effectively precluding the substantive protections of the ESA. Further,

the Service granted the State’s fish and wildlife agency, the Wyoming Game and Fish

Department (“WGFD”), sweeping and unprecedented control over all ferret reintroductions in

the State, including the ability to veto proposed reintroductions—–even on federal public

lands—in derogation of the Service’s and federal land management agencies’ duty under the

ESA to further the recovery of federally listed species. Because of the Service’s flawed statewide

“nonessential” designation and abdication of its duty to recover this critically imperiled species,

ferret reintroductions in the State have stalled and ferret numbers continue to decline.

       3.      Plaintiffs WildEarth Guardians, Western Watersheds Project, and Rocky

Mountain Wild (collectively, “Guardians”) file this civil action against Defendants the U.S. Fish

and Wildlife Service, Martha Williams in her in her official capacity as acting Director of the

U.S. Fish and Wildlife Service, and Deb Haaland in her official capacity as Secretary of the U.S.

Department of the Interior (collectively, “Service” or “Defendants”) for violations of the ESA,




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16 U.S.C. § 1531 et seq., the National Environmental Policy Act (“NEPA”), 42 U.S.C. §§ 4321

et seq., and the Administrative Procedure Act (“APA”), 5 U.S.C. § 701 et seq.

       4.      The Service has violated, and continues to violate, the ESA, NEPA, and the

APA through the promulgation of its final rule designating the State of Wyoming as a

nonessential experimental population area for black-footed ferrets under ESA § 10(j), 16 U.S.C.

§ 1539(j) (the “Wyoming 10(j) rule” or “the Rule”) as well as the associated Environmental

Assessment (“EA”)/Finding of No Significant Impact (“FONSI”), and the 2015 Final Intra-

service Biological Opinion on the Issuance of a New Federal Rule to Designate the Black-footed

Ferret as a Non-Essential Experimental Population in the State of Wyoming under ESA § 10(j)

(the “2015 BiOp”).

       5.      In view of the fatal flaws in both the process and the substance of the statewide

Wyoming § 10(j) rule, Plaintiffs ask the Court to set aside the challenged Rule and its associated

analyses and remand them to the Service for a new rulemaking that fully complies with the ESA,

NEPA and the APA.

                                JURISDICTION AND VENUE

       6.      This Court has jurisdiction pursuant to the ESA’s citizen suit provision, 16 U.S.C.

§ 1540 (“The several district courts of the United States… shall have jurisdiction over any

actions arising under this Act.”). The Court also has jurisdiction pursuant to 28 U.S.C. § 1331

(federal question) and 28 U.S.C. § 1346 (the United States is a defendant).

       7.      This Court has the authority to review the Service’s actions complained of herein

and grant the requested relief pursuant to 16 U.S.C. § 1540(g), 28 U.S.C. §§ 2201 (declaratory

judgment), and 2202 (injunctive relief), and 5 U.S.C. §§ 704 and 706 (APA).




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        8.      Guardians sent notice of its intent to sue the Service for the ESA violations

described in this complaint more than 60 days ago, as required by 16 U.S.C. § 1540(g)(2)(C).

The Service received the notice of intent to sue more than 60 days ago. The violations have not

been remedied.

        9.      Venue is proper in the United States District Court for the District of Columbia

pursuant to 16 U.S.C. § 1540(g)(3)(A) and 28 U.S.C. § 1391(e) because Defendants reside in the

district and a substantial part of the events giving rise to Guardians’ claims occurred in this

district.

                                             PARTIES

        10.     Plaintiff WILDEARTH GUARDIANS is a West-wide non-profit organization

whose mission is to protect and restore the wildlife, wild places, wild rivers, and health of the

American West. WildEarth Guardians has over 190,000 members and supporters, including

those who live, work and recreate in Wyoming. For over 30 years, WildEarth Guardians has

worked to restore and protect imperiled species including black-footed ferrets and prairie dogs,

the ferret’s obligates. WildEarth Guardians works to protect prairie dog habitat across the West,

promote non-lethal prairie dog management to benefit both ferret reintroductions and the health

of grassland ecosystems, and advocates for protecting ferrets to the fullest extent possible under

the ESA.

        11.     Plaintiff WESTERN WATERSHEDS PROJECT is a non-profit conservation

organization founded in 1993 with the mission of protecting and restoring western watersheds

and wildlife through education, public policy initiatives, and litigation. Headquartered in Hailey,

Idaho, Western Watersheds Project has over 12,000 members and supporters and works in

eleven states across the West, including Wyoming.




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       12.     Plaintiff ROCKY MOUNTAIN WILD (“RMW”) is a Denver based non-profit

conservation organization that protects, connects, and restores wildlife populations and wildlands

in the Southern Rockies region. RMW believes that public lands are fundamental for the

protection of biodiversity in the Southern Rockies region, and RMW actively engages in land

planning processes, scientific research, public education, and advocacy to protect key habitats

and wildlife movement corridors on Forest Service-managed lands. RMW has advocated for the

recovery of the black-footed ferret, protection of prairie dog habitat, and protection of areas

essential for the survival of both species. RMW also fights for lawful application of

environmental statutes such as the ESA.

       13.     Plaintiffs’ members, staff, and supporters are dedicated to ensuring the long-term

survival and recovery of the black-footed ferret throughout its historic range.

       14.     Plaintiffs’ members, staff, and supporters live and/or recreate in or near areas

historically occupied by black-footed ferret and the 2015 Wyoming nonessential experimental

population area, and use the area for purposes of hiking, camping, observing wildlife such as the

black-footed ferret, bird watching, and other recreational and professional pursuits.

       15.     Plaintiffs’ members, staff, and supporters enjoy observing, attempting to observe,

and studying black-footed ferrets in the wild, including within the 2015 Wyoming nonessential

experimental population area.

       16.     Plaintiffs’ members, staff, and supporters derive aesthetic, recreational, scientific,

inspirational, spiritual, educational, and other benefits from these activities and from working to

restore black-footed ferrets in Wyoming. Plaintiffs’ members, staff, and supporters have an

interest in knowing that black-footed ferrets are present and recovering in Wyoming.




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        17.     The interest of Plaintiffs’ members, staff, and supporters, as well as the

organizational interests of Plaintiffs, have been, are being, and—unless the requested relief is

granted—will continue to be harmed by the Service’s actions challenged in this complaint. If the

Court issues the relief requested, the harm to Plaintiffs’ members, staff, and supporters’ interests

will be redressed and/or alleviated.

        18.     Defendant U.S. FISH AND WILDLIFE SERVICE is a federal agency within the

U.S. Department of the Interior with delegated primary authority for administration of the ESA

with respect to terrestrial species. 50 C.F.R. § 402.01(b).

        19.     Defendant MARTHA WILLIAMS is the principal deputy director and acting

Director of the U.S Fish and Wildlife Service and is charged with ensuring agency decisions

comply with the law. Plaintiffs sue Defendant Williams in her official capacity.

        20.     Defendant DEB HAALAND is the Secretary of the U.S. Department of the

Interior, has the ultimate responsibility to administer and implement the provisions of the ESA

and all other federal laws applicable to the Department. Plaintiffs sue Defendant Haaland in her

official capacity.

                     STATUTORY AND REGULATORY FRAMEWORK

I. The Endangered Species Act and Section 10(j) Experimental Reintroductions

        21.     Congress passed the ESA “to provide a program for the conservation of . . .

endangered species and threatened species,” and to “provide a means whereby the ecosystems

upon which endangered species and threatened species depend may be conserved.” 16 U.S.C. §

1531(b). Further, the ESA “declare[s] [it] to be the policy of Congress that all Federal

departments and agencies shall seek to conserve endangered species and threatened species and

shall utilize their authorities in furtherance of the purposes of this chapter.” Id. § 1531(c)(1).




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        22.     The Secretaries of Interior and Commerce share responsibility for administering

the ESA, and have delegated that responsibility to the U.S. Fish and Wildlife Service (for

terrestrial species and non-anadromous fish) and National Marine Fisheries Service (for marine

species and anadromous fish), respectively. 50 C.F.R. § 402.01(b).

        23.     The goal of the ESA is not simply to prevent extinction, but to proactively recover

threatened and endangered species. The ESA defines “conserve” and “conservation”—terms

found throughout the Act—to mean “the use of all methods and procedures which are necessary

to bring any endangered species or threatened species to the point at which the measures

provided pursuant to this chapter are no longer necessary.” 16 U.S.C. § 1532(3). As the Supreme

Court has stated, “[t]he plain intent of Congress in enacting this statute was to halt and reverse

the trend toward species extinction, whatever the cost.” Tenn. Valley Auth. v. Hill, 437 U.S. 153,

184 (1978) (emphasis added).

        24.     To receive the full protections of the ESA, a species must first be listed by the

Secretary of the Interior as “endangered” or “threatened” pursuant to ESA section 4. Id. § 1533.

The ESA defines an “endangered species” as “any species which is in danger of extinction

throughout all or a significant portion of its range.” Id. § 1532(6). A “threatened species” is “any

species which is likely to become an endangered species within the foreseeable future throughout

all or a significant portion of its range.” Id. § 1532(20).

        25.     Once a species is listed, an array of statutory protections applies. For example,

section 7 of the ESA directs federal agency actions to conserve endangered and threatened

species. Section 7(a)(1) requires all federal agencies to “utilize their authorities in furtherance of

the purposes of [the ESA] by carrying out programs for the conservation of endangered and

threatened species[.]” Id. § 1536(a)(1). Section 7(a)(2) imposes a further obligation on federal




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agencies to consult with the expert fish and wildlife agency to ensure that any action authorized,

funded, or carried out by such agency is not likely to “jeopardize the continued existence” of any

listed species or “result in the destruction or adverse modification” of its “critical habitat.” Id. §

1536(a)(2). Jeopardy results where an action would reasonably be expected, either directly or

indirectly, to reduce appreciably the likelihood of both the survival and recovery of a listed

species in the wild by impacting the reproduction, numbers, or distribution of that species. 50

C.F.R. § 402.02.

        26.      Section 9 and its regulations further prohibit, among other things, “any person”

from intentionally “taking” listed species, or “incidentally” taking listed species, without a

permit from the Service. See id. §§ 1538-1539. Taking is defined broadly under the ESA to

include harming, harassing, or killing a protected species either directly or by degrading its

habitat sufficiently to significantly impair essential behavioral patterns. 16 U.S.C. § 1532(19); 50

C.F.R. § 17.3.

        27.      The Service must also “develop and implement” recovery plans for listed species

“unless [the agency] finds that such a plan will not promote the conservation of the species.” Id.

§ 1533(f)(1).

        28.      In sum, while the ESA imposes numerous provisions to safeguard the survival of

listed species, its overriding goal of conserving such species “is a much broader concept than

mere survival. The ESA’s definition of ‘conservation’ speaks to the recovery of a threatened or

endangered species.” Gifford Pinchot Task Force v. U.S. Fish & Wildlife Serv., 378 F.3d 1059,

1070 (9th Cir. 2004) (quotations and citation omitted).

        29.      Section 10(a)(1)(A) of the ESA, 16 U.S.C. § 1539(a)(1)(A), authorizes

the Secretary of Interior to permit, “under such terms and conditions as he shall




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prescribe,” “any act otherwise prohibited by [section 9 (i.e., a taking)] . . . for scientific purposes

or to enhance the propagation or survival of the affected species, including, but not limited to,

acts necessary for the establishment and maintenance of experimental populations pursuant to

subsection (j) of this section . . . .” See also 50 C.F.R. § 17.81(b). Section 10 also authorizes the

Secretary to release a population of a threatened or endangered species into the wild as an

“experimental population.” 16 U.S.C. § 1539(j). Pursuant to section 10(j), before authorizing the

release of an experimental population, the Service must determine that the release of such a

population will further the conservation of that species. Id. § 1539(j)(2)(A). The Service must

also identify the population and determine, on the basis of the best information available,

whether the population “is essential to the continued existence” of the species. Id.

§ 1539(j)(2)(B). An “essential experimental population” is one “whose loss would be likely to

appreciably reduce the likelihood of the survival of the species in the wild.” 50 C.F.R. §

17.80(b). “All other experimental populations are to be classified as nonessential.” Id. The

regulation must provide the “supporting factual basis” for the finding. Id. § 17.81(c)(2).

       30.     An experimental population deemed “essential” is generally entitled to the full

array of the ESA’s substantive protections, but a nonessential experimental population is not.

16 U.S.C. § 1539(j)(2)(C). The Service often relies on its section 10(j) authority to designate a

species as “nonessential experimental”—as it did in this case—to avoid the ESA’s strict

protective provisions in an effort to gain support from those who would otherwise oppose the

species’ reintroduction. See e.g., 49 Fed. Reg. 33,885, 33,888 (August 27, 1984) (preamble to

rulemaking for 50 C.F.R. Part 17) (explaining that section10(j) rules facilitate reintroduction “in

those instances where the involved parties are reluctant to accept the reintroduction of an




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endangered or threatened species without the opportunity to exercise greater management

flexibility on the introduced population.”).

       31.     Essential experimental populations, as well as nonessential experimental

populations within the National Wildlife Refuge System or National Parks System, are treated as

a threatened species, regardless of whether the species itself is listed as threatened or

endangered. 16 U.S.C. § 1539(j)(2)(C). Nonessential experimental populations outside of the

National Wildlife Refuge System or National Parks System, however, are treated “as a species

proposed to be listed.” Id. § 1539(j)(2)(C)(i). Consequently, these nonessential populations are

exempt from the ESA’s § 7(a)(2) consultation requirements. In addition, the Service cannot

designate critical habitat for any nonessential populations. Id. § 1539(j)(2)(C)(ii).

       32.     Though the provision relaxes protections for reintroduced populations, § 10(j)

reintroductions must “further the conservation”—i.e., recovery—“of such species.” Id. §

1539(j)(2)(A). To determine whether a § 10(j) rule will further conservation, the Service must

“utilize the best scientific and commercial data available” to consider:

               (1)   Any possible adverse effects on extant populations of a species
                     as a result of removal of individuals, eggs, or propagules for
                     introduction elsewhere;
               (2)   The likelihood that any such experimental population will
                     become established and survive in the foreseeable future;
               (3)   The relative effects that establishment of an experimental
                     population will have on the recovery of the species; and
               (4)   The extent to which the introduced population may be affected
                     by existing or anticipated Federal or State actions or private
                     activities within or adjacent to the experimental population
                     area.

50 C.F.R. § 17.81(b). In sum, the ultimate legal litmus test for any ESA section 10(j)

regulation is whether it provides for and facilitates the recovery of the affected species.

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II. The National Environmental Policy Act

       35.     The National Environmental Policy Act (“NEPA”), 42 U.S.C. §§ 4321 et seq., “is

our basic national charter for protection of the environment.” 40 C.F.R. § 1500.1(a). NEPA has

two primary objectives: (1) to foster informed decisionmaking by requiring agencies to consider

the environmental impacts of their proposed actions, and (2) to ensure that agencies inform the

public that they have considered environmental concerns in their decisionmaking. See id. §

1500.1(c).1

       36.     To accomplish these purposes, NEPA requires that all federal agencies prepare a

“detailed statement” regarding all “major Federal actions significantly affecting the quality of the

human environment.” 42 U.S.C. § 4332(2)(C). This statement, known as an environmental

impact statement (“EIS”), must, among other things, rigorously explore and objectively evaluate

all reasonable alternatives, analyze all direct, indirect, and cumulative environmental impacts,

and include a discussion of the means to mitigate adverse environmental impacts. 40 C.F.R. §§

1502.14, 1502.16.

       37.     An agency may also prepare an environmental assessment (“EA”) to determine

whether an EIS is necessary. Id. §§ 1501.3, 1508.9. An EA must include a discussion of

alternatives and the environmental impacts of the action. Id. § 1508.9.

       38.     An agency may avoid preparing an EIS only if it: (1) prepares an EA identifying

and analyzing the action’s environmental effects; and (2) makes a finding of no significant

impact, which presents the agency’s reasons for concluding that the action’s environmental

effects are not significant. Id. §§ 1501.4(b), (e); 1508.9; 1508.13.


1
 On September 14, 2020, the Council on Environmental Quality’s revised NEPA regulations
went into effect. See generally 85 Fed. Reg. 43,304 (July 16, 2020). However, the NEPA process
here occurred in 2015 and is subject to the NEPA regulations in effect at that time.


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       39.     Regardless of whether an agency provides an EA or EIS, NEPA’s implementing

regulations require each federal agency to disclose and analyze the environmental effects of its

proposed actions “before decisions are made and before actions are taken.” Id. § 1500.1(b). “The

information must be of high quality. Accurate scientific analysis, expert agency comments, and

public scrutiny are essential to implementing NEPA.” Id.

III. The Administrative Procedure Act

       40.     The APA confers a right of judicial review on any person adversely affected by

final agency action, and provides for a waiver of the federal government’s sovereign immunity. 5

U.S.C. §§ 701–706.

       41.      Upon review of agency action, the court shall “hold unlawful and set

aside actions . . . found to be arbitrary, capricious, an abuse of discretion, or otherwise not

in accordance with the law.” Id. § 706(2). An action is arbitrary and capricious “if the agency has

relied on factors which Congress has not intended it to consider, entirely failed to consider an

important aspect of the problem, offered an explanation for its decision that runs counter to the

evidence before the agency, or is so implausible that it could not be ascribed to a difference in

view or the product of agency expertise.” Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto.

Ins. Co., 463 U.S. 29, 43 (1983). Further, “the agency must . . . articulate a satisfactory

explanation for its action including a rational connection between the facts found and the choice

made.” Id. (quotations and citations omitted).

                                   FACTUAL ALLEGATIONS

I.     The Black-Footed Ferret

       42.     The black-footed ferret, a slender-bodied, short-legged mustelid, is an “extreme

specialist” that depends almost exclusively on prairie dogs for food and prairie dog burrows for



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shelter. Solitary and nocturnal, they spend most of their lives below ground in burrows, generally

appearing aboveground only at night.




             Credit: J. Michael Lockhart/USFWS

       43.     Black-footed ferrets once occupied a vast range throughout North America. Their

habitat corresponds to that of the black-tailed prairie dog, Gunnison’s prairie dog, and white-

tailed prairie dog, whose collective range historically spanned over 562 million acres of

intermountain and prairie grasslands from Canada to Mexico. Scientists conservatively estimate

that prairie dogs occupied at least 100 million acres of these grasslands in the United States,

correlating to a minimum population of 500,000 to 1 million ferrets.

       44.     But prairie dog populations have declined drastically due to habitat loss,

eradication efforts, and disease. Beginning in the late 1800s, much of the prairie dog’s native

grassland converted to cropland. By the early 1900s, prairie dogs were (and still are) commonly

poisoned to reduce competition with livestock for forage. And epizootic outbreaks of sylvatic

plague, a flea-borne illness introduced in the 1930s (and that also infects black-footed ferrets),

killed prairie dogs in huge numbers. A 2006 survey found that black-tailed prairie dogs occupied


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as little as 1.4% of their historic range in Wyoming, and more recent studies show continuing

population declines.

       45.     The decline in prairie dogs had dire consequences for the ferret. By 1964, only

one known population of ferrets—located in Mellette County, South Dakota—remained. In

1979, after the last captive ferret taken from the Mellette population died, the species was

presumed extinct.

       46.     That changed in 1981, when a dog killed a black-footed ferret on a ranch near

Meeteetse, Wyoming. Biologists surveyed the area and found 130 ferrets nearby, but disease

soon killed most of these individuals too. Between 1985 and 1987, the last eighteen surviving

Meeteetse ferrets were captured and used to start a captive breeding program. Every known

living black-footed ferret descends from these eighteen animals.

II.    Conservation History of the Black-Footed Ferret

       47.     The black-footed ferret was first listed as an endangered species in 1967 under the

Endangered Species Preservation Act of 1966. The ferret was listed again in 1970 under the

Endangered Species Conservation Act of 1969, then received legacy listing under the

Endangered Species Act of 1973.

       48.     In 1982, Congress amended the ESA to add § 10(j), which allows the U.S. Fish

and Wildlife Service to designate reintroduced populations of listed species as “experimental

populations.” Reintroductions under § 10(j)—and under § 10(a)(1)(A), which permits

reintroductions to “enhance the propagation or survival” of listed species—have since served as

the foundation for ferret recovery nationwide.

       49.     The Service first drafted a recovery plan for the black-footed ferret in 1978 (when

the species was believed to be extinct in the wild), then revised the plan in 1988 after the




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Meeteetse rediscovery and start of a captive breeding program. The Service revised the recovery

plan again in 2013, and the 2013 plan (hereinafter, the “2013 Recovery Plan”) currently guides

ferret recovery.

       50.     The 2013 Recovery Plan catalogs the threats that continue to hinder black-footed

ferret recovery. Principal among them is the lack of sufficiently-sized and properly-managed

prairie dog colonies: “most prairie dog populations are no longer large and stable enough (due to

plague, poisoning, recreational shooting, and the lack of proactive management) to support

recovery of the ferret, and the existing regulatory mechanisms are inadequate to support the large

prairie dog populations that ferrets require.” In the Plan, the Service lists the inadequacy of

prairie dog management as a high magnitude, imminent threat to the ferret, stating that

“[w]ithout large, stable prairie dog complexes, ferret recovery in the wild cannot be achieved.”

       51.     The 2013 Recovery Plan also recognizes the risks posed by the species’ extreme

genetic bottleneck. The current captive breeding program began with the last eighteen ferrets

from Meeteetse, the genetic equivalent of just seven animals. This type of bottleneck can cause

both inbreeding depression and genetic drift.2 Moreover, captive breeding, while necessary, can

reduce reproductive fitness and cause physical and behavioral abnormalities, maladaptation to

the captive environment, and loss of natural selection. To mitigate these genetic risks, ferrets

must be introduced into the wild. The Service recognized in the 2013 Recovery Plan that

“[t]imely establishment of wild black-footed ferret populations is critical to minimize deleterious

effects resulting from too many generations of captive breeding.”




2
 The Recovery Plan describes “inbreeding depression” as “caused by increased genetic
homozygosity (uniformity) and the subsequent expression of deleterious genes,” and “genetic
drift” as “the random loss of genetic diversity in small populations.”

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        52.     As the 2013 Recovery Plan makes clear, recovery of the black-footed ferret

depends on successful reintroductions. To downlist the species from endangered to threatened,

the Service would need to “establish free-ranging black-footed ferrets totaling at least 1,500

breeding adults, in 10 or more populations, in at least 6 of 12 States within the historical range of

the species, with no fewer than 30 breeding adults in any population, and at least 3 populations

within colonies of Gunnison’s and white-tailed prairie dogs.” Delisting the species would require

the Service to “[e]stablish free-ranging black-footed ferrets totaling at least 3,000 breeding

adults, in 30 or more populations, with at least one population in each of at least 9 of 12 States

within the historical range of the species, with no fewer than 30 breeding adults in any

population, and at least 10 populations with 100 or more breeding adults, and at least 5

populations within colonies of Gunnison’s or white-tailed prairie dogs.”

        53.     Black-footed ferret reintroductions began in 1991, at Shirley Basin, Wyoming,

and have since expanded to twenty-nine reintroduction sites in the United States, Canada, and

Mexico. But, as of 2018, only 14 reintroduction sites remained active, and the ferret population

remains far below the number necessary for down- and delisting. Moreover, despite new

reintroduction sites, ferret populations have been in marked decline since the late 2000s. Apart

from the approximately 280 ferrets in captivity, less than 400 are estimated to exist in the wild.

This divergence between increased reintroduction sites and decreased ferrets is a result of

sylvatic plague epizootics, but also because more recent reintroduction sites lack sufficient size

to host resilient, persistent ferret populations.




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Black-footed ferret population levels and reintroduction site recruitment trends, 1992-2018.
Figure source: Species Status Assessment Report for the Black-footed Ferret (Dec. 12, 2019),
U.S. Fish and Wildlife Service.

III.   Black-Footed Ferret Conservation in Wyoming

       54.     In the 2013 Recovery Plan, the Service provides state-specific recovery criteria,

recognizing “[p]articipation by all States within the historical range of the black-footed ferret is

important to maximize the redundancy, representation, and resilience of the ferret and result in

equitable recovery goals for all States.” Wyoming carries special importance: “[e]stablishment of

black-footed ferret populations in Wyoming, which ranks third for the amount of potential

habitat of the 12 states in the species’ historical range, is especially crucial to recovery.” To

contribute its share for downlisting, Wyoming would need to host approximately 171 breeding

adult ferrets and maintain 35,000 acres of prairie dog occupied habitat; for delisting, the state

needs to host 341 breeding adults and maintain 70,000 acres of habitat.

       55.     Though the first black-footed reintroduction took place in Wyoming in 1991, the

state has not come close to meeting recovery goals. A main hurdle has been a lack of willingness




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by private and other non-federal landowners to host reintroductions—unwillingness driven by

both liability concerns and negative attitudes toward prairie dogs.

       56.      To address these landowner concerns, the Service in 2013 completed a

Programmatic Safe Harbor Agreement that exempts landowners willing to host ferret

reintroductions, as well as their neighbors, from ESA liability. The Agreement applies to all non-

federal lands (i.e., state, private, and tribal lands) in Wyoming, and shields enrolled and adjacent

landowners from ESA section 9 liability for take if incidental to lawful activities such as farming

and ranching.

       57.      Despite the Safe Harbor Agreement, the State of Wyoming demanded that the

Service lift all ESA protections for the ferret in the state. In November 2013, the Wyoming

Game and Fish Department (“WGFD”) entered into a memorandum of understanding with the

Service (hereinafter, the “2013 MOU”) that called on the Service to promulgate a § 10(j) rule

designating the state as a nonessential experimental population area.

       58.      The 2013 MOU also assigned roles and responsibilities to the parties: the Service

would lead development of a § 10(j) rule, but would relinquish the responsibility of ferret

recovery to WGFD (i.e., WGFD would “serve as the lead agency for ferret recovery actions in

the State of Wyoming”). Further, in the MOU the Service agreed “that future reintroductions of

the ferret will be based on mutually affirmed prioritization of prospective reintroduction sites”—

a promise to WGFD that it could veto reintroductions even on federal public lands, which

comprise 48% of Wyoming and provide much of the State’s best-preserved grasslands habitat.

       59.      Subsequently, the State of Wyoming, at the instruction of the Governor’s Office,

refused to support any efforts to recover ferrets until the Service designated the entire state—

both federal and non-federal lands—as a nonessential, experimental population area under §




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10(j). For instance, as recounted in an email from Tyler Abbott, the Service’s Wyoming Field

Office Supervisor, the State refused to allow the Service to use a black-footed ferret conditioning

pen on Warren Air Force Base in southeast Wyoming—used to acclimate captive-bred ferrets

before release into the wild—until the Service promulgated a statewide § 10(j) rule.




       60.     The State also refused to allocate Natural Resources Conservation Service funds

for landowner incentives or other ferret recovery efforts until the Service finalized a § 10(j) rule.




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        61.     Additionally, as conveyed in an email from Zack Walker, the Department’s

nongame supervisor in charge of black-footed ferret recovery, the State refused to allow any

ferret reintroductions until the finalization of a statewide § 10(j) rule, despite the fact that the

2013 Safe Harbor Agreement then in effect provided the same regulatory assurances to private

and other non-federal landowners.




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       62.     As the Service developed the statewide § 10(j) rule, agency staff understood it

would delegate lead responsibility to the WGFD and questioned the consequences. Pete Gober,

the Service’s Black-footed Ferret Recovery Coordinator, raised questions internally about “what

is gained via deference to the State versus what could be lost viz a viz foregoing potential

Sec[tion] 7 options in the future . . . for example (with some historical precedent) a future

statewide [prairie dog] eradication program on Federal lands or a new toxicant registrant process

like Rozol.”




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Likewise, in comments on a January 13, 2015 draft Informational Memorandum being prepared

as part of the rulemaking package, staff at the National Black-Footed Ferret Conservation Center

(“NBFFCC”), asked: “It is assumed that complete deference to Wyoming will result in additional

reintroductions there. Is it wise to forego our Sec[tion] 7 options statewide given their track

record? Should we request a BFF management plan from [WGFD] prior to finalizing the 10(j)?”




       63.     The Service, however, hid these concerns from the public. An internal draft of the

§ 10(j) rule included a request for public comments on the delegation of authority for ferret

recovery to the State, as well as the consequences of promulgating a special statewide rule, and

doing so without consideration of any specific release sites.




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The Service’s Regional Office and Solicitor’s Office deleted these queries from the proposed

rule, evidently “in hopes they would not be major concerns.”




        64.     The Service also hid the true reason for promulgating the rule: the State’s

unbending demand that the Service provide it with a special blanket ESA exemption for the

black-footed ferret statewide and control over reintroductions, rather than ferret conservation.

Agency staff manufactured a different rationale—“checkerboard [land] ownership patterns”—in

the Informational Memorandum submitted to Service leadership as part of the approval process

for the § 10(j) rule.




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       65.     On April 10, 2015, the Service published its proposed § 10(j) rule for the ferret,

designating a “Wyoming Experimental Population Area.” Establishment of a Nonessential

Experimental Population of Black-Footed Ferrets in Wyoming, 80 Fed. Reg. 19,263, 19,274

(April 10, 2015). The rule did not contemplate specific reintroductions. Rather, it classified any

prospective “reestablished population” in the state as “nonessential experimental” to “provide

relaxed management rules to facilitate [unspecified, future] reintroductions.” Id. at 19,263

(emphasis added). And instead of committing to undertake any specific reintroductions, the

Service delegated “primary management responsibilities for ferret reintroductions” to WGFD. Id.

at 19,268.

       66.     On October 30, 2015, the Service issued the final Wyoming § 10(j) rule, which

designated every to-be-reintroduced ferret population in the state as a nonessential experimental

population and concurrently delegated all authority for conducting reintroductions, and

managing reintroduced populations, to WGFD. Establishment of a Nonessential Experimental

Population of Black-footed Ferrets in Wyoming, 80 Fed. Reg. 66,821, 66,826 (codified in part at

50 C.F.R. § 17.84(g)) (Oct. 30, 2015).




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       67.     In effect, the final rule delists the species within the State’s borders irrespective of

reintroductions; by prospectively designating any yet-to-be-reintroduced ferret as nonessential,

the rule strips away protections otherwise afforded by the ESA, including section 7(a)(2)

consultation requirements, section 9 prohibitions against unlawful take, and possible critical

habitat designations. Instead, the rule authorizes incidental take of the species writ-large in the

state (even to “baseline” levels, meaning complete removal), eliminating a key protection against

direct and indirect mortality.

       68.     The final rule amounts to an unequal bargain with the State of Wyoming. Despite

ceding recovery authority to the State and effectively delisting the species in the name of

“regulatory relief,” the final rule contains no assurance that reintroductions will actually occur

anywhere in Wyoming.

       69.     At the same time the Service published the final statewide § 10(j) rule, it released

its final EA and FONSI prepared under NEPA. The EA and FONSI assumed without question

that no ferret populations in the state ever could be essential to the recovery of the species. The

documents also ignored key aspects of the rule, including the Service’s abdication of its recovery

duty to the State, the lack of any assurances that reintroductions would in fact occur, and the

consequences of the broad nonessential designation going forward—most notably the

consequences of removing ESA section 7 consultation requirements statewide.

       70.     Since the Service promulgated the Wyoming § 10(j) rule, recovery in Wyoming

has in fact stalled. WGFD conducted an initial reintroduction of ferrets near Meeteetse in 2016

and continues to release captive ferrets solely at this one site. But Wyoming is still far short of its

downlisting target and no reintroductions have occurred at any new sites in the state.




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       71.     The final § 10(j) rule has actually impeded reintroductions on federal lands—

specifically, the Thunder Basin National Grassland, widely considered the best potential ferret

reintroduction site in the State of Wyoming, if not all of North America. In November 2016, the

Governor of Wyoming, WGFD, Wyoming Office of State Lands and Investments, and Wyoming

Department of Agriculture sent letters informing the U.S. Forest Service that the State did not

support ferret reintroduction in Thunder Basin National Grassland. Wyo. Game and Fish Dept.,

Thunder Basin and Black-Footed Ferrets Talking Points (Aug. 14, 2018).3

       72.     Just over a year later, in December 2017, the Fish and Wildlife Service and Forest

Service announced an agreement with WGFD that “the reintroduction of black-footed ferrets on

the Grassland is not appropriate at this time.” Id. (citing U.S. Forest Serv., U.S. Fish and Wildlife

Serv., and Wyo. Game and Fish Dept., Interagency Statement (Dec. 4, 2017)).

       73.     In 2020, the Forest Service amended Thunder Basin National Grassland’s

management plan to eliminate the Black-Footed Ferret Reintroduction Habitat Management

Area, shrink objectives for prairie dog colony acreage below the minimum threshold necessary

for self-sustaining ferret populations, and allow for the lethal management of prairie dogs

through use of poisoning and shooting in active colonies. U.S. Forest Serv. 2020. Thunder Basin

National Grassland 2020 Plan Amendment Record of Decision.4

                              FIRST CLAIM FOR RELIEF
        Violations of the Endangered Species Act and Administrative Procedure Act

                                     COUNT ONE
     Improper Designation of a Statewide Nonessential Experimental Population Area




3
  Available at: https://wyoleg.gov/InterimCommittee/2018/SFR-
20180829ThunderBasinFerretTalkingPoints_Aug2018.pdf. (last visited Oct. 27, 2021).
4
  Available at: https://www.fs.usda.gov/nfs/11558/www/nepa/110862_FSPLT3_5538534.pdf.
(last visited Oct. 27, 2021).

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       74.     Plaintiffs incorporate by reference all preceding paragraphs.

       75.     Pursuant to § 10(j) of the ESA, 16 U.S.C. § 1539(j), and the Service’s

implementing regulations, the Service may authorize the release of any population of an

endangered or threatened species outside the current range of such species. Before doing so, the

Service must determine by regulation: (1) that such release will further the conservation of such

species, and (2) whether or not such population is essential to the continued existence of the

species in the wild. 16 U.S.C. § 1539(j)(2)(A), 1539(j)(2)(B); 50 C.F.R. § 1781(c)(2).

       76.     The Service acted arbitrarily and capriciously by designating the entire State of

Wyoming a nonessential experimental population area in multiple respects. For one, section 10(j)

does not authorize the Service to prospectively designate “nonessential experimental population

areas” separate from any identified population to-be-released. The text of section 10(j) and its

implementing regulations contain no authority for such hypothetical designations. And without

any particular release to consider, the Service cannot make the requisite findings that “such

release” will further the conservation of the species, or is essential or nonessential to the

continued existence of the species in the wild. Relatedly, this impermissibly broad application of

section 10(j) authority resulted in a final § 10(j) rule that lacks a rational basis for encompassing

all federal public lands, when the impetus for the rule was to promote reintroductions on private

and other non-federal lands. Further, the Service’s statewide designation is the product of

political demands for maximum regulatory “flexibility” rather than ferret conservation reflective

of the species’ biological needs for recovery.

       77.     The Service’s designation of a blanket statewide § 10(j) rule untethered to any

particular release population for the State of Wyoming violates § 10 of the ESA, 16 U.S.C. §




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1539, its implementing regulations, 50 C.F.R. § 17.81, and is “arbitrary, capricious, an abuse of

discretion, or otherwise not in accordance with law,” 5 U.S.C. § 706(2)(A).

                                      COUNT TWO
 Failure to Use the Best Available Science and Information in Designating all Prospective
             Black-footed Ferret Reintroductions in Wyoming as Nonessential

       78.     Plaintiffs incorporate by reference all preceding paragraphs.

       79.     Pursuant to the Endangered Species Act, the Service’s implementing regulations,

and Service policy, the Service must utilize the best available science and information in

promulgating section 10(j) regulations, determining whether an experimental population is

essential to the continued existence of the species in the wild, and in otherwise implementing the

requirements of the Act. 16 U.S.C. § 1536(a)(2); 16 U.S.C. § 1539(j)(2)(B); 50 C.F.R. §

17.81(c)(2); 50 C.F.R. § 402.14(d).

       80.     By designating all hypothetical future ferret populations to be reintroduced in the

State of Wyoming as “nonessential” the Service failed to use the best scientific and commercial

data available in several respects, including, but not limited to: failing to identify and evaluate

any particular proposed reintroduction in connection with its “nonessential” determination

despite acknowledging that expeditious reintroductions are vital to the species’ persistence;

failing to consider whether any future reintroduced populations in Wyoming could be essential to

the survival of the species in the wild; using “regulatory flexibility” rather than the species’

biological needs for recovery as a basis for the rulemaking; failing to consider data supporting

the importance of wild populations to the species’ survival; ignoring the operative recovery plan

for black-footed ferrets, including the identified threats to the species and recovery guidelines;

and ignoring clearly-expressed antipathy towards prairie dog management and ferret

reintroductions by the State of Wyoming.




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       81.     The Service’s statewide “nonessential” designation for Wyoming violates § 10 of

the ESA, 16 U.S.C. § 1539, its implementing regulations, 50 C.F.R. § 17.81, and is “arbitrary,

capricious, an abuse of discretion, or otherwise not in accordance with law,” 5 U.S.C. §

706(2)(A), and/or constitutes “agency action unlawfully withheld or unreasonably delayed,” 5

U.S.C. § 706(1).

       82.     The Service’s associated 2015 BiOp that was intended to evaluate the impact of

the Wyoming § 10(j) rule on the ferret’s survival and recovery—i.e., the Rule’s designation of

the entire state as a “nonessential experimental population area” and the Service’s abdication of

authority over all prospective reintroductions to the state wildlife agency—is also not based on

the best available information and science because its “no jeopardy” determination relies on the

legally insufficient statewide nonessential population designation. The 2015 BiOp is additionally

flawed for: (1) failing to evaluate the effects on the species of the Rule’s failure to consider any

potential reintroductions sites and timelines for reestablishing additional wild ferret populations

in the State; (2) relying on speculative outcomes rooted in unenforceable measures to reduce the

incidence of the sylvatic plague and the grave threat it poses to black-footed ferrets and their

habitat, i.e., stable prairie dog complexes; and (3) failing to evaluate the effects of prairie dog

poisoning on the sufficiency of habitats to support black-footed ferrets. As a result, the 2015

BiOp fails to ensure the final Wyoming § 10(j) rule will not reduce appreciably the likelihood of

the survival and recovery of black-footed ferrets, i.e., not jeopardize the species, and thus

violates section 7 of the ESA, 16 U.S.C. § 1536(a)(2) and (b)(3)(A), and its implementing

regulations, 50 C.F.R. §§ 402.02, 402.14, and is “arbitrary, capricious, an abuse of discretion, or

otherwise not in accordance with law,” 5 U.S.C. § 706(2)(A), and/or constitutes “agency action

unlawfully withheld or unreasonably delayed,” 5 U.S.C. § 706(1).




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                                       COUNT THREE
                     Failure to Provide for the Conservation of the Species

       83.     Plaintiffs incorporate by reference all preceding paragraphs.

       84.     Pursuant to the ESA, regulations related to an experimental population must

provide for the conservation of the species. 16 U.S.C. §§ 1539(a)(1)(A), (d), (j)(2)(C); 50 C.F.R.

§ 17.81. To provide for the conservation of the species means to take measures that lead to the

recovery of the species such that ESA protections are no longer required. 16 U.S.C. § 1532(3).

       85.     Additionally, the Service must utilize the programs it administers in furtherance

of the purposes of the ESA, central among them the conservation of threatened and endangered

species. 16 U.S.C. §§ 1536(a)(1), 1531(b).

       86.     The Service’s final Wyoming § 10(j) rule does not provide for the conservation of

the black-footed ferret in several respects, including, but not limited to: designating the State of

Wyoming as a nonessential experimental population area without identifying any proposed

reintroductions; delineating the entire state as a nonessential experimental population, including

federally-managed lands; eliminating protections otherwise afforded to the ferret under the ESA,

including under sections 4, 7, and 9; allowing reintroduced ferret populations to be “returned to

baseline” (i.e., intentionally taken to the point where ferrets no longer exist in the wild); lacking

commitments or timeframes for reintroductions; lacking a process for periodic review and

evaluation of the success or failures of releases and their effects on ferret recovery; failing to

consider the best available scientific and commercial data and information available; and

improperly abdicating and subdelegating the duty to recover ferrets to the State of Wyoming and

WGFD.

       87.     The Service’s failure and/or refusal to provide for the conservation of the black-

footed ferret violates § 10 of the ESA, 16 U.S.C. § 1539, § 7 of the ESA, 16 U.S.C. § 1536, the



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ESA’s implementing regulations, 50 C.F.R. § 17.81, and is “arbitrary, capricious, an abuse of

discretion, or otherwise not in accordance with law,” 5 U.S.C. § 706(2)(A), and/or constitutes

“agency action unlawfully withheld or unreasonably delayed,” 5 U.S.C. § 706(1).

                             SECOND CLAIM FOR RELIEF
        Violations of the Endangered Species Act and Administrative Procedure Act
                       Improper Subdelegation of Statutory Authority

       88.     Plaintiffs incorporate by reference all preceding paragraphs.

       89.     When Congress passed and amended the ESA, it delegated authority to the

Secretary of the Interior to administer the Act’s provisions, including section 10(j), in

furtherance of species recovery.

       90.     While the Secretary can delegate that duty to the Service, the Service cannot

subdelegate the duty to a nonfederal entity unless Congress affirmatively provides authority to

do so. U.S. Telecom Ass’n v. F.C.C., 359 F.3d 554, 565–66 (D.C. Cir. 2004). Moreover, the

Service cannot subdelegate its authority when doing so would frustrate the purpose of the ESA.

       91.     The Service’s final statewide Wyoming § 10(j) rule impermissibly subdelegates

authority to the State of Wyoming and WGFD to lead ferret recovery and reintroductions in the

State. The ESA provides no authority for the Service to make such a subdelegation. The

Service’s subdelegation of authority also frustrates the purposes of the ESA, including the

purpose of recovering the black-footed ferrets in the wild, by granting the State control over

ferret reintroductions statewide including on federal lands, and the ability to veto ferret

reintroductions. While section 6 the ESA, 16 U.S.C. § 1535, and its implementing regulations,

50 C.F.R. § 81.2, provides the mechanism for state participation through management

agreements and/or cooperative agreements, no such valid agreements exist here, nor would such




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agreements allow the Service to cede management authority over the recovery of a federally

listed species to a State and its agencies.

         92.    By subdelegating authority to the State, the Service acted ultra vires, “in excess of

statutory jurisdiction, authority, or limitations,” 5 U.S.C. § 706(2)(C), and the final statewide

Wyoming § 10(j) rule violates the ESA, and is “arbitrary, capricious, an abuse of discretion, or

otherwise not in accordance with law,” 5 U.S.C. § 706(2)(A).

                              THIRD CLAIM FOR RELIEF
  Violations of the National Environmental Policy Act and Administrative Procedure Act

                                        COUNT ONE
                    Failure to Prepare an Environmental Impact Statement

         93.    Plaintiffs incorporate by reference all preceding paragraphs.

         94.    Under NEPA, federal agencies must prepare an EIS for any federal action that

may have a significant environmental impact. 42 U.S.C. § 4332. In determining whether a

proposed action may “significantly” impact the environment, NEPA’s implementing regulations

require federal agencies to consider both the “context” (e.g., regional, locality) and the

“intensity” (i.e., severity of the impact) of the action. 40 C.F.R. § 1508.27. NEPA’s regulations

further provide a list of ten factors the agency should consider in determining the intensity of a

project, any one of which may be sufficient to require preparation of an EIS. Id.; Standing Rock

Sioux Tribe, et. al. v. U.S. Army Corps of Engineers, et. al., 985 F.3d 1032, 1039 (D.C. Cir.

2021).

         95.    The Service violated NEPA and its implementing regulations by relying on an EA

and FONSI for the final statewide Wyoming § 10(j) rule given the Rule’s “context” and several

“significance” factors indicate the need for an EIS. For instance, the statewide Wyoming § 10(j)

rule poses major environmental consequences for both the overall recovery of this federally




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listed species throughout its entire range and in the State of Wyoming. 40 C.F.R. § 1508.27(a); §

1508.27(b)(9). The EA/FONSI also ignore the context of the rulemaking—namely, the State of

Wyoming’s antipathy towards prairie dogs and ferret reintroductions, and the consequences of

handing over recovery authority to a state hostile to the presence of prairie dogs and black-footed

ferrets within its borders. Id. § 1508.27(a). Further, the effects of this proposed statewide

Wyoming § 10(j) rule, which effectively delists one of the most endangered mammals in the

world but contains no requirements, timelines, or other assurances that reintroductions will

actually occur, are highly controversial and uncertain. Id. § 1508.27(b)(3), (4). And even though

agency staff understood that such an expansive, prospective § 10(j) rule was unprecedented and

could lead other states to ask for similar rules, the EA/FONSI fail to address “[t]he degree to

which the action may establish a precedent for future actions with significant effects or

represents a decision in principle about a future consideration.” Id. § 1508.27(b)(6). The

EA/FONSI also fail to consider the precedential effect that a nonessential designation would

have on all future federal land management actions in the absence of any section 7 consultation

obligations. Id. Likewise, the EA/FONSI fail to address the unprecedented handover of recovery

responsibility to the State of Wyoming, and how that handover could affect the ability of federal

land management agencies to manage federal public lands for ferret reintroductions. See id. §

1508.27(b) (“Responsible officials must bear in mind that more than one agency may make

decisions about partial aspects of a major federal action.”).

       96.     By failing to prepare an EIS, the Service acted arbitrarily, capriciously, and in

violation of NEPA, its implementing regulations, and the APA, 5 U.S.C. § 706(2)(A).

                                       COUNT TWO
                 Failure to Prepare an Adequate Environmental Assessment

       97.     Plaintiffs incorporate by reference all preceding paragraphs.



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       102.    If an agency decides not to prepare an EIS, an EA must “provide sufficient

evidence and analysis” to support a FONSI. 40 C.F.R. § 1508.9(a)(1).

The EA must take a hard look at the direct, indirect, and cumulative impacts of a proposed action

to inform its decision about whether the agency must prepare an EIS because a proposed action

significantly impacts the environment. Id. §§ 1502.16(a)-(b), 1508.7, 1508.8.

       103.    An EA must also discuss the need for the proposal, and “study, develop, and

describe appropriate alternatives to recommended courses of action” as required by 42 U.S.C. §

4332(2)(E). See 40 C.F.R. § 1508.9.

       104.    The information used in the EA must be high quality and scientifically accurate.

40 C.F.R. § 1500.1(b).

       105.    The final EA/FONSI for the statewide Wyoming § 10(j) rule are deficient in a

number of respects, including, but not limited to: failing to evaluate whether any reestablished

population of black-footed ferrets in Wyoming could be essential to the recovery of the species;

failing to consider an alternative whereby any future reintroduced population could be deemed

essential; failing to identify and discuss any potential reintroduction sites and evaluate a timeline

for reestablishing any wild ferret populations within Wyoming, despite acknowledging that

recent studies “identified several sites in Wyoming with potential for ferret reintroduction

including one site with potential for reintroduction within less than 3 years, 24 sites with

potential for reintroduction within 3–10 years, and two sites with long-term potential for

reintroduction”; failing to consider the consequences of relying on captive populations as the

sole “essential” population on ferret genetics and fitness; failing to consider the direct, indirect,

and cumulative effects of the Service’s abdication of the duty to recover the ferret to the State of

Wyoming without commitments to conduct reintroductions; failing to adequately consider the




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indirect and cumulative effects of the Service’s nonessential designation, which eliminated ESA

section 7 consultation duties for federal actions and the Service’s ability to designate critical

habitat for the species; failing to use high-quality scientific information to support its analysis;

and by otherwise failing to take a hard look at the effects of the statewide Wyoming § 10(j) rule

on the black-footed ferret’s future persistence and recovery.

       106.    By failing to prepare an adequate EA and take the requisite hard look at the

environmental consequences of its proposed action and other reasonable alternatives thereto, the

Service acted arbitrarily, capriciously, and in violation of NEPA, its implementing regulations,

and the APA, 5 U.S.C. § 706(2)(A).

                                    REQUEST FOR RELIEF

Plaintiffs respectfully request that the Court:

       A.      Issue a declaratory judgment that the Service’s final statewide Wyoming § 10(j)

rule and associated EA/FONSI, and 2015 BiOp violate the law as described in this complaint;

       B.      Set aside and remand the Service’s final statewide Wyoming § 10(j) rule and

associated EA/FONSI, and 2015 BiOp for further analysis and action consistent with the law and

this Court’s memorandum opinion and order;

       C.      Issue such injunctive relief as Plaintiffs may subsequently request;

       D.      Retain continuing jurisdiction of this matter until the Service fully remedies the

violations of law described in this complaint;

       E.      Award Plaintiffs their costs, attorneys’ fees, and other expenses pursuant to the

Endangered Species Act, 16 U.S.C. § 1540(g), and/or the Equal Access to Justice Act, 28 U.S.C.

§ 2412;

       F.      Grant Plaintiffs such other relief as the Court deems just and equitable.




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Respectfully submitted this 28th day of October, 2021.


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